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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


  FAIR FIGHT ACTION, et al.,

          Plaintiffs,
        v.                                           Civil Action File
                                                     No. 1:18-cv-05391-SCJ
  BRAD RAFFENSPERGER, et al.,

          Defendants.




             PLAINTIFFS’ FEBRUARY 14, 2020, STATUS UPDATE
                      PURSUANT TO THE COURT’S
                  JANUARY 31, 2020, ORDER (ECF No. 205)


   I.        Defendants’ Document Productions

        On Friday, February 7, Defendants sent by FedEx to Plaintiffs’ e-discovery

vendor in Minnesota a hard drive of “Production 29,” putatively containing over

100,000 pages of documents Bates labeled STATE-DEFENDANTS-00234925

through STATE-DEFENDANTS-00335175. Plaintiffs’ vendor received that hard

drive the afternoon of Tuesday, February 11, and predicts it will complete the

upload of those documents to Plaintiffs’ e-discovery review platform by end of day

on Friday, February 14.
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II.    Plaintiffs’ Expert Witnesses

       a. Status of Expert Reports

       Plaintiffs have confirmed with their expert witnesses Halderman, Mayer,

Herron, and McDonald that each will meet this Court’s February 18, 2020,

deadline for submission of expert reports. (ECF No. 8).

       b. Status of Expert Deposition Scheduling

          Expert                Dates and Locations                Status
                                      Offered
 Dr. Halderman                February 25, in Ann         Date and location
                              Arbor or Detroit.           confirmed at Detroit
                                                          airport hotel.

 Dr. Mayer                    February 24, 26, or 28, in February 26 confirmed;
                              Madison.                   location in Madison to be
                                                         determined.

 Dr. Herron                   February 26, in New         Confirmed for Jenner &
                              York City.                  Block.

 Dr. McDonald                 February 28, in Atlanta.    Confirmed at Lawrence
                                                          & Bundy

 Dr. Graves                   February 25, in Boston.     Confirmed in Boston at
                                                          MIT Sloane School.


III.   Plaintiffs’ List of Declarants
       As the Court ordered (ECF No. 225), Plaintiffs will provide Defendants a

final list of declarants by 5:00 p.m. today.




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                      CERTIFICATE OF COMPLIANCE

      I certify this Status Update has been prepared in a Times New Roman 14-

point font, one of the selections this Court has approved. See LR 5.1(C)(3).

      Respectfully submitted, this, the 14th day of February, 2020.



                                 /s/ Leslie J. Bryan
                                Allegra J. Lawrence (GA Bar No. 439797)
                                Leslie J. Bryan (GA Bar No. 091175)
                                Maia Cogen (GA Bar No. 832438)
                                Suzanne Smith Williams (GA Bar No. 526105)
                                LAWRENCE & BUNDY LLC
                                1180 West Peachtree Street
                                Suite 1650
                                Atlanta, GA 30309
                                Telephone: (404) 400-3350
                                Fax: (404) 609-2504
                                allegra.lawrence-hardy@lawrencebundy.com
                                leslie.bryan@lawrencebundy.com
                                maia.cogen@lawrencebundy.com
                                suzanne.williams@lawrencebundy.com

                                Thomas R. Bundy (Admitted pro hac vice)
                                LAWRENCE & BUNDY LLC
                                8115 Maple Lawn Boulevard
                                Suite 350
                                Fulton, MD 20789
                                Telephone: (240) 786-4998
                                Fax: (240) 786-4501
                                thomas.bundy@lawrencebundy.com




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                      Dara Lindenbaum (Admitted pro hac vice)
                      SANDLER REIFF LAMB ROSENSTEIN &
                      BIRKENSTOCK, P.C.
                      1090 Vermont Avenue, NW
                      Suite 750
                      Washington, DC 20005
                      Telephone: (202) 479-1111
                      Fax: 202-479-1115
                      lindenbaum@sandlerreiff.com

                      Elizabeth Tanis (GA Bar No. 697415)
                      John Chandler (GA Bar No. 120600)
                      957 Springdale Road, NE
                      Atlanta, GA 30306
                      Telephone: (404) 771-2275
                      beth.tanis@gmail.com
                      jachandler@gmail.com

                      Kurt G. Kastorf (GA Bar No. 315315)
                      THE SUMMERVILLE FIRM, LLC
                      1226 Ponce de Leon Avenue, NE
                      Atlanta, GA 30306
                      Telephone: (770) 635-0030
                      Fax: (770) 635-0029
                      kurt@summervillefirm.com

                      Matthew G. Kaiser (Admitted pro hac vice)
                      Sarah R. Fink (Admitted pro hac vice)
                      Scott S. Bernstein (Admitted pro hac vice)
                      Norman G. Anderson (Admitted pro hac vice)
                      KAISERDILLON PLLC
                      1099 Fourteenth Street, NW
                      Eighth Floor West
                      Washington, DC 20005
                      Telephone: (202) 640-2850
                      Fax: (202) 280-1034
                      mkaiser@kaiserdillon.com
                      sfink@kaiserdillon.com
                      sbernstein@kaiserdillon.com
                      nanderson@kaiserdillion.com

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                      Andrew D. Herman (Admitted pro hac vice)
                      Nina C. Gupta (Admitted pro hac vice)
                      MILLER & CHEVALIER CHARTERED
                      900 Sixteenth Street, NW
                      Washington, DC 20006
                      Telephone: (202) 626-5800
                      Fax: (202) 626-5801
                      aherman@milchev.com
                      ngupta@milchev.com

                      Kali Bracey (Admitted pro hac vice)
                      JENNER & BLOCK LLP
                      1099 New York Avenue, NW
                      Suite 900
                      Washington, DC 20001
                      Telephone: (202) 639-6000
                      Fax: (202) 639-6066
                      kbracey@jenner.com

                      Jeremy M. Creelan (Admitted pro hac vice)
                      Jeremy H. Ershow (Admitted pro hac vice)
                      JENNER & BLOCK LLP
                      919 Third Avenue
                      New York, New York 10022
                      Telephone: (212) 891-1600
                      Fax: (212) 891-1699
                      jershow@jenner.com
                      jcreelan@jenner.com

                      Von A. DuBose
                      DUBOSE MILLER LLC
                      75 14th Street N.E., Suite 2110
                      Atlanta, GA 30309
                      Telephone: (404) 720-8111
                      Fax: (404) 921-9557
                      dubose@dubosemiller.com




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                      Johnathan Diaz (Admitted pro hac vice)
                      Paul M. Smith (Admitted pro hac vice)
                      CAMPAIGN LEGAL CENTER
                      1101 14 St. NW Suite 400
                      Washington, DC 20005
                      Telephone: (202)736-2200
                      psmith@campaignlegal.org
                      jdiaz@campaignlegal.org


                      Counsel for Fair Fight Action, Inc.; Care in
                      Action, Inc.; Ebenezer Baptist Church of Atlanta,
                      Georgia, Inc.; Baconton Missionary Baptist
                      Church, Inc.; Virginia-Highland Church, Inc.; and
                      The Sixth Episcopal District, Inc.




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                         CERTIFICATE OF SERVICE

      I hereby certify that, on February 14, 2020, I caused to be served the

foregoing PLAINTIFF’S FEBRUARY 14, 2020, STATUS UPDATE

PURSUANT TO THE COURT’S JANUARY 31, 2020, ORDER (ECF No.

205) by filing it through the Court’s ECF system, which will serve the following

counsel:

      Chris Carr, Esq.
      Attorney General
      Dennis Dunn, Esq.
      Deputy Attorney General
      Russell Willard, Esq.
      Senior Assistant Attorney General
      Georgia Office of the Attorney General
      40 Capitol Square
      Atlanta, GA 30334
      ccarr@law.ga.gov
      ddunn@law.ga.gov
      rwillard@law.ga.gov

      Bryan P. Tyson, Esq.
      Bryan F. Jacoutot, Esq.
      Diana LaRoss, Esq.
      Special Assistant Attorneys General
      Taylor English Duma LLP
      1600 Parkwood Circle
      Suite 200
      Atlanta, GA 30339
      Telephone: (678) 336-7249
      btyson@taylorenglish.com
      bjacoutout@taylorenglish.com
      dlaross@taylorenglish.com




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Joshua Barrett Belinfante, Esq.
Vincent Robert Russo, Jr., Esq.
Brian Edward Lake, Esq.
Carey Allen Miller, Esq.
Alexander Denton, Esq.
Special Assistant Attorneys General
Robbins Ross Alloy Belinfante Littlefield, LLC
500 Fourteenth St., N.W.
Atlanta, GA 30318
Telephone: (678) 701-9381
Fax: (404) 856-3250
jbelinfante@robbinsfirm.com
blake@robbinsfirm.com
vrusso@robbinsfirm.com
cmiller@robbinsfirm.com
adenton@robbinsfirm.com




                             /s/ Leslie J. Bryan
                             Leslie J. Bryan
                             Georgia Bar No. 091175




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